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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

Case: 1:19-mc-00099

IN RE SUBPOENA DUCES TECUM Assigned To : Jackson, Ketanji Brown

<< Assign. Date : 6/6/2019
TO VERIZON WIRELESS Description: MISC

 

MISTINETTE MINTS’ MOTION TO QUASH SUBPOENA AND MOTION FOR
PROTECTIVE ORDER FOR PERSONAL PHONE AND TEXT RECORDS

Mistinette Mints (“Mints” or “Petitioner’’), by her undersigned counsel, moves pursuant to
Fed. R. Civ. P. 45(d)(3) for an order quashing a subpoena dated May 13, 2019 seeking her personal
phone and text records (the ‘“Subpoena”), and moves pursuant to Fed. R. Civ. P. 26(c) for a
protective order protecting her records, or alternatively for the subject subpoena to be modified
pursuant to Fed. R. Civ. P. 45(d)(3).' In support hereof, Mints states as follows:

Background

1. Verizon Wireless was served with the Subpoena that is the subject of the Motion in
connection with a civil action currently pending in the United States District Court for the District
of Maryland, captioned: Hispanic National Law Enforcement Association NCR, et al., v. Prince
George's County Maryland, et al., (Civil Action No. 8:18-cv-03821 TDC) (the “Underlying
Action”). Plaintiffs in the Underlying Action (fifteen current and former Prince George’s County
police officers, and two organizations purporting to represent Prince George’s County police
officers) served the Subpoena. Defendants in the Underlying Action are Prince George’s County

and several individual police officers.

 

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A copy of the Subpoena is attached as Exhibit 1 hereto and redacted RECE AY Ss D

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2. The Underlying Action is an employment discrimination matter in which the
Plaintiffs (Respondents in this proceeding) have asserted claims for racial discrimination and
retaliation under the First and Fourteenth Amendments to the U.S. Constitution and Title VII of
the Civil Rights Act of 1964.

3. Mints is not a party to the Underlying Action. She is a sworn police officer holding
the rank of Major in the Prince George’s County Police Department. Verizon Wireless is also not
a party to the Underlying Action.

4. The Subpoena served on Verizon Wireless seeks the phone and text records
associated with eleven (11) telephone numbers, including Mints’ number.? The Subpoena seeks
all “records relating to the phone numbers,” including the “time, date, duration, and
destination/origin phone number for all incoming/outgoing calls, and the time, date
destination/origin phone number, and content for all text messages,” from January 1, 2016, to the
present. (Ex. 1; emphasis added.) The (XXX) XXX-5058 number is Mints’ personal phone
number associated with a cell phone that she personally owns and pays for. It is not her work
phone number associated with a police department-issued device, which she also has.

5. Mints is only mentioned in the Amended Complaint once. See ECF 54, Am.
Compl. at § 192.3 Specifically, the Amended Complaint alleges that more than two years ago, in
March 2017, Plaintiff Chris Smith was transferred out of his Special Assignments Team position

to the Patrol Bureau. See ECF 54, Am. Compl. at J] 189-192. Plaintiff Smith allegedly attempted

 

2 Mints received notice of the Subpoena on May 31, 2019, after Verizon Wireless sent a

letter to Mints’ mother’s residence. A copy of the letter is attached as Exhibit 2 and is redacted
for privacy concerns.
3 ECF citations refer to the docket in the Underlying Action.

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to meet with his supervisors at that time, Mints and Thomas Calmon, about the transfer. Id. at
192.

6. There are no allegations in the Amended Complaint that Plaintiff Chris Smith
attempted to contact Mints on the phone number that is the subject of the Subpoena.

7. As addressed below, the Subpoena’s request for a// of Mints’ personal phone and
text records since 2016 should be quashed, or in the alternative, a Protective Order issued, or the
Subpoena’s scope modified. The Subpoena seeks entirely irrelevant information for a three-and-
a-half-year period of time, is not proportional to the needs of the case, and is overboard. Moreover,
Petitioner asserts it was issued for the improper purpose of harassing and invading Mints’ privacy.

Applicable Law’

8. Fed. R. Civ. Pro. 45(d)(3)(A) requires a court to quash or modify a subpoena that
“requires disclosure of privileged or other protected matter,” or “subjects a person to undue
burden.” Further, because the scope of discovery under a subpoena is the same as the scope of
discovery under Fed. R. Civ. Pro. 26, a subpoena may also be quashed for failing to comply with
Rule 26. See Coleman v. District of Columbia, 275 F.R.D. 33, 36-37 (D.D.C. 2011) (“{I]t is
settled that a subpoena is limited in scope by Rule 26(b)(1) of the Federal Rules of Civil

Procedure”); Cook v. Howard, No. 11-1601, 2012 WL 3634451, at *6 (4th Cir. Aug. 24, 2012)

 

(per curiam) (“Although Rule 45(c) sets forth additional grounds on which a subpoena against a
third party may be quashed[,] ... those factors are co-extensive with the general rules governing all
discovery that are set forth in Rule 26.”).

9. In addition to moving to quash, a person served with a subpoena may move for a

 

4 Unless stated otherwise, internal citations and quotations are omitted.

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protective order under Fed. R. Civ. Pro. 26(c), and “under Rule 26(c), a court may make any order
which justice requires to protect a party or person from annoyance, embarrassment, oppression, or
undue burden or expense upon a showing of good cause.” W. Bay One, Inc. v. Does 1-1,653, 270
F.R.D. 13, 14 (D.D.C. 2010). Whether a discovery request is oppressive or imposes an undue
burden is determined by balancing the party’s need for the discovery against the potential hardship
to the subject of the subpoena. Id. In determining whether there is an “undue burden,” a court
examines “relevance, the need of the party for the documents, the breadth of the document request,
the time period covered by it, the particularity with which the documents are described and the
burden imposed.” Id.

Argument
The Subpoena is Overbroad and Seeks Irrelevant Information.

10. | The Subpoena should be quashed because it is immensely overbroad and not
reasonably calculated or limited to obtain potentially relevant information. The Subpoena is
nothing short of a fishing expedition intended to harass and annoy Mints, a non-party, through the
invasion of her privacy through her personal phone and texting records.

11. “A subpoena imposes an undue burden on a party when a subpoena is overbroad.”
In re Subpoena Duces Tecum to AOL, LLC, 550 F. Supp. 2d 606, 612 (E.D. Va. 2008). A
subpoena is overbroad if it is not reasonably limited or tailored to the pleaded claims or defenses.
Sirpal v. Fengrong Wang, No. CIV. WDQ-12-0365, 2012 WL 2880565, at *5 (D. Md. July 12,
2012). “For example, a request for ‘all copies of e-mails sent or received by anyone with no
limitation as to time or scope’ is usually overbroad.” Id.

12. Here, Respondents’ request for the records of all of Mints’ incoming and outgoing

telephone calls to all people, and the contents of aii of her text messages to ail people, for a period
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covering more than three years (since January 1, 2016), is grossly overbroad, because among other
things, “it does not limit the [requested phone or text records] requested to [those containing]
subject matter relevant” to the underlying action. In re Subpoena Duces Tecum to AOL, 550 F.
Supp. 2d at 612 (quashing subpoena for being overbroad). There is no subject-matter limitation
at all contained in the Subpoena. For example, there is no limitation tailored to the lone allegation
in the Amended Complaint involving Mints, nor even a limitation for calls and texts to and from
Chris Smith’s phone number(s), if any exist. See Arndt v. Ford Motor Co., No. 2:15-CV-11108,
2016 WL 1161444, at *4 (E.D. Mich. Mar. 24, 2016) (quashing phone records request to Verizon
Wireless for “all” phone numbers and text messages as overbroad and “not proportional to the
needs of [that] case”; future subpoena could only seek text messages exchanged between Plaintiff
and his supervisor for a limited time period).

13. Mentioning Mints’ name once in an 80-page pleading, in relation to an alleged
occurrence in March 2017, simply does not merit the production of three-and-a-half years of her
personal phone and texting records.

14. _ Additionally, to the extent Respondents are seeking Mints’ phone or text records
with Plaintiff Chris Smith (if any exist), such records can be obtained from Respondent Chris
Smith himself. There is no need to invade Mints’ privacy. See Fed. R. Civ. P. 26(b)(2)(C) (“On
motion or on its own, the court must limit the frequency or extent of discovery otherwise allowed
by these rules ... if it determines that the discovery sought ... can be obtained from some other
source that is more convenient, less burdensome, or less expensive....”); see also Sirpal, 2012 WL
2880565 at *6 (quashing subpoena for phone records because no “substantial need” for dismissed
party’s phone records where Sirpal’s phone records were sufficient for remaining claims);

HDSherer LLC v. Nat. Molecular Testing Corp., 292 F.R.D. 305, 308 (D.S.C. 2013) (quashing
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subpoena for documents from non-parties where same information was in Defendant’s
possession).

15. Respondents’ request for more than three years’ of records of “all
incoming/outgoing calls” and “the content for all text messages,” without any subject-matter
limitation tying the request to the claims and defenses in the Underlying Action, is facially
demonstrative of an intent to annoy and harass Mints. See Sharp v. Baltimore City Police Dep’t,
No. CIV. CCB-11-2888, 2013 WL 937903, at *3 (D. Md. Mar. 1, 2013) (quashing subpoena for
phone records where the “defendants seem engaged in an attempt to uncover ‘dirt’ on the plaintiff,
rather than truly to investigate the facts relevant to the May 2010 incident.”).

Il. The Court Should Enter a Protective Order for Mints’ Phone and Text Records.

16. This Court should also enter a protective order for Mints’ phone and text
records, prohibiting Respondents from seeking them in the future. There is good cause to protect
Mints’ personal records. Phone records and text messages can reveal private information about a
person that have no connection to the Underlying Action. Text messages, for example,
frequently contain deeply intimate conversations with family members, friends, and others.
Moreover, call records can be used to discover private, personal matters such as Mints’ health
care providers, political affiliations, businesses she visits, medical appointments she made,
places of worship, ete. None of this information has any relevance to the Underlying Action,
yet all of it would be disclosed to Respondents if the Subpoena is not quashed and a protective

order is not entered.

 

5 This is especially true here where the Respondents are police officers with enhanced

abilities to track information about other people.

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Conclusion

WHEREFORE, for all of the foregoing reasons, Mints respectfully requests that the Court
quash the Subpoena and prevent Verizon Wireless from disclosing her personal cell phone and
text records.

Undersigned counsel further submits this motion pursuant to Fed. R. Civ. P. 45(f) as,
although counsel is not a member of the District of Columbia bar, he has been admitted to practice
in federal courts in the State of Maryland, and the subject subpoena in the Underlying Action was
filed in the United States District Court for the District of Maryland. This motion has been filed in
the United States District Court for the District of Columbia as, per the subpoena, the District of

Columbia is the district where compliance is required. See Fed. R. Civ. P. 45(d)(3).

Dated: June 6, 2019 Respectfully submitted,

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Member of the bar of the State of Maryland, and
of the District Court for the District of
Maryland.
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CERTIFICATION OF NO DISCIPLINARY ACTION

I HEREBY CERTIFY that I have never been disciplined by any bar association of any

State, district, or other governing entity.

Gea ¢. wif —

J. McAndrew

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 6th day of June 2019, a copy of the foregoing non-
party Mistinette Mints’ Motion to Quash Subpoena and Motion for Protective Order for Personal
Phone and Text Records was served via First Class Mail, postage pre-paid on:

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